        Case 4:96-cr-00233-BRW           Document 1277      Filed 10/16/08     Page 1 of 2



                               IN THE UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF ARKANSAS
                                         WESTERN DIVISION


UNITED STATES OF AMERICA                                                      Judge: Bill Wilson
counsel: Pat Harris                                                           Reporter: K. Baker
counsel:                                                                       Clerk: M. Johnson
                                                                                     Interpreter:
        vs                                                                   USPO: Audrene Ellis

HAROLD STEVENSON BARBEE
counsel: Steve Davis
counsel:                                                                  Date: October 16, 2008

                                                                      CASE NO: 4:96CR00233-02


                   COURT PROCEEDING: Supervised Release Revocation Hearing

Begin: 3:50 p.m.                                                                    End: 4:15 p.m.

Court calls cases and reviews to present; Financial Affidavit of deft argued; Steve Davis appt'd to
represent deft; revocation hearing cont'd until 11/3/2008 at 2:30 p.m.; Order to be entered.


Court in recess.




CourthearingMinutes.Revo.wpd
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,CJA




                                                                                                                                                                     LOCATION NUMBER


_ _ _ _ _ _ _ _ V.S.                                          _




         PERSON REPRESENTED                                                                                             I 0    Defendant-Adult                             DOCKET NUMBERS


~        /-WCI!J                                                                                                        2 0
                                                                                                                        3 0
                                                                                                                        4 0
                                                                                                                               Defendant - Juvenile
                                                                                                                               Appellant
                                                                                                                               Probation Violator
                                                                                                                                                                           Magistrate



                                                                                                                        5 0    Parole Violator
         CHARGE/OFFENSE (describe if applicable & check box -+)        0   Felony                                       6 0    Habeas Petitioner
    Q                                                                  g...-Misdemeanor                                 7 0    2255 Petitioner

V~n(( se-d... f)~ f~v: So                               Q..   ViC lo-....~-()        'r")
                                                                                                                        8 0
                                                                                                                        9~her
                                                                                                                               Material Witness




                                   Are you now employed?               DYes                       0             DIm Self-Employed
                                   Name and address of employer:                    ,d£lrff/t" .Ittac rCQjf!!}'
                    EMPLOY­        IF YES, how much do you                                                                  IF NO, gIve month and year of last employment
                    MENT                    earn per month? $                                                               How much did you earn per month? $                 eel: JCcK'
                                   If married is your Spouse employed?                       D        Yes                   No
                                   IF YES, how much does your                                                               Ifa minor under age 21, what is your Parents or
                                            Spouse earn per month? $                                                        Guardian's approximate monthly income? $
                                   Have you received within the past 12 months any income from a business, profession or other form of self-employment, or in ~ form of
                                   the form of rent payments, interest, dividends, retirement or annuity payments, or other sources?                                   D Yes             ~No
                    OTHER                                                                   RECEIVED                                                           SOURCES
.SSETS
                    INCOME         IF YES, GIVE THE AMOUNT
                                       RECEIVED & IDENTIFY                             $                    _
                                               THE SOURCES
                    CASH           Have you any cash on hand or money in savings or checking accounts?                                 Yes D No IF YES, state total amount $

                                   Do you own anl'real estate, stocks, bonds, notes, automobiles, or other ';.a~:ble property (excluding ordinary household furnishings and '£
                                   clothing) [J' Yes      D No                                      _~              W                                                      L ~/3
                                                                                                                                                                                                       JiL/
                    PROP­                                                                    VAL.UE         ~j.{ I                                      .   DE./~PTlON                          Ctl(?
                    ERTY
                                   IF YES, GIVE           THED~~Z~~~~f $ -!1iffif'}V~¢ ~16a-;:~

                                                          M7:~:;TUS                          De~::::nts
                                                                                                                              List persons you actually support and your relationship to them              .../ ""




                                                                                                                              .1f!ftA~ ~;~
                                                                                                                    {
                            DEPENDENTS                            MARRIED                        '?
                                                                  WIDOWED                   __   ->             _
                                                    {             SEPARATED OR
                                                                  DIVORCED
IBLIGATIONS &
                            DEBTS &                       APARTMENT                                             Creditors                                     Total Debt                  Monthly Paymt.
IEBTS
                                                          ORHO~

                                                         ~=:;:!;:z~~~~~~~~~~~~~;;:~.ua~==(MlJf~==· ========~==_ -== ~I~
                            MONTHLY
                            BILLS
                                                                                                                               /1
                            (LIST I\LL CREDITORS,
                            INCLUDING DANKS,
                            LOAN COMJ'ANIES,                                                                                                                                         S   ~~\\
                                                    {
                            CHARGE ACCOUNTS.
                            ETC)

certiry under penalty of perjury that the foregoing is true and correct. Executed on (date)


 IJ-------_
       ~GOV.NMINT
                                   SIGNATUREOFDEFENDANT t ~ ~
                                      (OR PERSON REPRESENTED)                          I::MLIL­ ~
                                                                                                                     ~~

            EXHIBIT
